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Message

From: Jack Abramoff ii
Sent: 9/30/2015 3:14:53 PM

To: compliance@atencoin.com

Subject: RE: Sepo Holdings, LLC

Thanks so much Marcus. I’m just finishing a hugely time-consuming project and hope to focus on getting our letter in
the next week. Regards, Jack

From: compliance @atencoin.com [mailto:compliance@atencoin.com]
Sent: Wednesday, September 30, 2015 4:48 AM

To: Jack Abramoff (a

Subject: Re: Sepo Holdings, LLC

Thanks Jack.
Also, below is one of the latest articles that came out about Aten Coin.
Although | did not make those quotes, those quotes from me was from a previous Press Release.

http://markets. financialcontent.com/marketintelligence/news/read?GUID=30699908

Thank you for everything brother,

Marcus

Quoting Jack Abramoff iii.

Hi Marcus,
The holiday just ended, and Ill get to this asap (probably tomorrow}, hope you are well.
Fondest regards,

Jack

From: compliance @atencoin.com [mailto:compliance@atencoin.com]
Sent: Monday, September 28, 2015 6:41 AM

To: Jack Abramoff <

Subject: Re: Sepo Holdings, LLC

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
TRIAL EXHIBIT 1091
CASE NO.: CR 20-249 RS
DATE ENTERED

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Hello,

Please see the attached Term Sheet. Feel free to make any changes you see fit.

| need that letter at your earliest convenience.

Thank you,

Marcus Andrade

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ANDRADE_DOJ_00065826

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